Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 1 of 8 PageID #: 8




                      EXHIBIT A
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 2 of 8 PageID #: 9
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 3 of 8 PageID #: 10
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 4 of 8 PageID #: 11
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 5 of 8 PageID #: 12
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 6 of 8 PageID #: 13
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 7 of 8 PageID #: 14
Case: 4:21-cv-00169-MPM-JMV Doc #: 1-1 Filed: 12/17/21 8 of 8 PageID #: 15
